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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

LYNDON JONES                                      §
                                                  §
         Plaintiff,                               §
                                                  §
V.                                                §
                                                  §               CIVIL ACTION
ALLSTATE INSURANCE                                §             NO. 4:17-CV-00910-O
COMPANY                                           §
                                                  §
         Defendant.                               §

                                   JOINT STATUS REPORT

TO THE HONORABLE JUDGE:

        Pursuant to the Court’s July 18, 2019 Order to Submit Joint Status Report [Doc. #21],

Plaintiff Lyndon Jones (“Plaintiff”) and Defendant Allstate Insurance Company (“Defendant”),

(collectively, the “Parties”) and respectfully report as follows:

        The appraisal process is currently ongoing in this matter. Ray Choate was retained to

represent Plaintiff and Justin Whedbee was retained to represent the Defendant during the

appraisal process. Additionally, the Parties agreed to name Chris Cleveland as the umpire. Justin

Whedbee inspected the property on April 2, 2019. The inspection was delayed multiple times

because of weather. However, Ray Choate refused to attend the inspection. Nor has he provided

any numbers to Justin Whedbee. The dispute is going to the umpire. We anticipate appraisal to

be concluded within the next 90 days.




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Respectfully submitted,
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ATTORNEY FOR PLAINTIFF
LYNDON JONES
* Signed with permission


                                 CERTIFICATE OF SERVICE

        This is to certify that on July 22, 2019, a true and correct copy of the foregoing was
delivered to all counsel of record by electronic service:

        Eric B. Dick
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                                           /s/ Matthew J. Kolodoski
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